Information to identify the case:
Debtor
                   Capstone Pediatrics, PLLC                                                       EIN 46−3431552
                   Name


United States Bankruptcy Court MIDDLE DISTRICT OF TENNESSEE                                        Date case filed in chapter 11                     3/28/19

Case number: 3:19−bk−01971                                                                         Date case converted to chapter 7                 11/5/20

Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                            12/15

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered. This notice has important information about the case for creditors, debtors, and trustees, including
information about the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

                                    The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                        Capstone Pediatrics, PLLC
2. All other names used in the
   last 8 years
3. Address                                   1420 Donelson Pike Suite B17
                                             Nashville, TN 37217
4. Debtor's attorney                         DAVID W HOUSTON IV                                                   Contact phone: 615−724−3215
    Name and address                         BURR & FORMAN LLP
                                             222 Second Avenue South                                              Email: dhouston@burr.com
                                             Suite 2000
                                             NASHVILLE, TN 37201
5. Bankruptcy trustee                        MICHAEL GIGANDET                                                     Contact phone: 615 746−4949
    Name and address                         LAW OFFICE OF MICHAEL GIGANDET
                                             208 CENTRE ST                                                        Email: None
                                             PLEASANT VIEW, TN 37146
6. Bankruptcy clerk's office                 701 Broadway Room 170                                                Hours open: 8:00AM−4:00PM
    Documents in this case may be            Nashville, TN 37203                                                  Monday−Friday
    filed at this address. You may
    inspect all records filed in this case                                                                        Contact phone: 615−736−5584
    at this office or online at
    www.pacer.gov.
                                                                                                                  Date: 11/5/20
7. Meeting of creditors                      December 7, 2020 at 08:00 AM                                         Location:
    The debtor's representative must
    attend the meeting to be                 The meeting may be continued or adjourned to a           Customs House, 701 Broadway,
    questioned under oath. Creditors         later date. If so, the date will be on the court docket. Room 100, Nashville, TN 37203
    may attend, but are not required to
    do so.
                                                       *** Valid photo identification required ***

8. Proof of claim                            No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
    Please do not file a proof of            If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    claim unless you receive a notice        that you may file a proof of claim and stating the deadline.
    to do so.

9. Creditors with a foreign                  If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                   extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.
Official Form 309C (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline


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